Case 22-42943-elm11           Doc 2     Filed 12/05/22 Entered 12/05/22 15:59:44     Desc Main
                                       Document      Page 1 of 5


Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
PROPOSED ATTORNEYS FOR DEBTOR

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                            §
                                                  §
BUFFALO STATION, LLC,                             §         CASE NO. 22-42943-elm-11
                                                  §              Chapter 11
        Debtor.                                   §

                  DEBTOR’S MOTION TO JOINTLY ADMINISTER CASES

        NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
        RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
        BANKRUPTCY COURT AT 501 W. 10TH ST., FORT WORTH, TX 76102
        BEFORE CLOSE OF BUSINESS ON DECEMBER 27, 2022, WHICH IS AT
        LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
        CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
        MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
        HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD WITH
        NOTICE ONLY TO THE OBJECTING PARTY.

        IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
        REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
        UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
        THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.
        TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

        COMES NOW Buffalo Station, LLC, the Debtor in the above styled and referenced

bankruptcy case and files this its Debtor’s Motion to Jointly Administer Cases and in support of

same would respectfully show the following:




Debtor’s Motion to Jointly Administer Cases
Page 1
Case 22-42943-elm11           Doc 2     Filed 12/05/22 Entered 12/05/22 15:59:44          Desc Main
                                       Document      Page 2 of 5



        1.       Buffalo Station, LLC filed a voluntary petition under Chapter 11, Title 11 of the

United States Bankruptcy Code on December 5, 2022, case number 22-42943-elm, which is

pending before this Court, and will be operating its business as debtor-in-possession.

        2.       Premier 82, LLC filed a voluntary petition under Chapter 11, Title 11 of the United

States Bankruptcy Code on December 5, 2022, case number 22-42944-elm, which is pending

before this Court, and will be operating its business as debtor-in-possession.

        3.       Remington Station, LLC filed a voluntary petition under Chapter 11, Title 11 of the

United States Bankruptcy Code on December 5, 2022, case number 22-42945-elm, which is

pending before this Court, and will be operating its business as debtor-in-possession.

        4.       Ventura Heights, LLC filed a voluntary petition under Chapter 11, Title 11 of the

United States Bankruptcy Code on December 5, 2022, case number 22-42948-mxm, which is

pending before this Court, and will be operating its business as debtor-in-possession.

        5.       Windsor at 82nd for Pinewood, LLC filed a voluntary petition under Chapter 11,

Title 11 of the United States Bankruptcy Code on December 5, 2022, case number 22-42950-mxm,

which is pending before this Court, and will be operating its business as debtor-in-possession.

        6.       The liabilities of Buffalo Station, LLC; Premier 82, LLC; Remington Station, LLC;

Ventura Heights, LLC; and Windsor at 82nd for Pinewood, LLC substantively overlap. It would

be difficult to propose a plan of reorganization in the cases without them being jointly

administered. Joint Administration is in the best interest of the estates, creditors, and the Debtors.

        7.       It is necessary to jointly administer the five cases for administrative purposes and

for the purpose of proposing a joint plan of reorganization.

        8.       The cases should be jointly administered under the case number of the first-filed

case.



Debtor’s Motion to Jointly Administer Cases
Page 2
Case 22-42943-elm11           Doc 2     Filed 12/05/22 Entered 12/05/22 15:59:44     Desc Main
                                       Document      Page 3 of 5



        WHEREFORE, PREMISES CONSIDERED, Buffalo Station, LLC requests that the Court

jointly administer the five referenced cases; and for such other and further relief to which the

Debtor may show itself to be justly entitled.

        Dated: December 5, 2022.

                                                Respectfully submitted,

                                                 /s/ Joyce W. Lindauer
                                                 Joyce W. Lindauer
                                                 State Bar No. 21555700
                                                 Joyce W. Lindauer Attorney, PLLC
                                                 1412 Main Street, Suite 500
                                                 Dallas, Texas 75202
                                                 Telephone: (972) 503-4033
                                                 Facsimile: (972) 503-4034
                                                 PROPOSED ATTORNEYS FOR DEBTOR



                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 5, 2022, a true and correct copy of the
foregoing document was served via United States first class mail, postage prepaid, upon the U.S.
Trustee and the parties on the attached service list.

                                                  /s/ Joyce W. Lindauer
                                                Joyce W. Lindauer




Debtor’s Motion to Jointly Administer Cases
Page 3
Case 22-42943-elm11   Doc 2    Filed 12/05/22 Entered 12/05/22 15:59:44   Desc Main
                              Document      Page 4 of 5
Case 22-42943-elm11   Doc 2    Filed 12/05/22 Entered 12/05/22 15:59:44   Desc Main
                              Document      Page 5 of 5
